Case 1:01-cr-00003-LEW Document 172 Filed 03/12/08 Page 1 of 1                  PageID #: 28




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

  UNITED STATES OF AMERICA,                   )
                                              )
                                              )
  v.                                          )
                                              ) Docket no. 01-cr-03-B-S
  DENNIS MOONEY,                              )
                                              )
                                              )
                       Defendant.             )
                                              )


       ORDER DENYING MOTION TO MODIFY TERM OF IMPRISONMENT


         Before the Court is Defendant’s pro se Motion to Modify Term of Imprisonment

  Pursuant to 18 U.S.C. § 3582(c)(2) (Docket # 164). In connection with the briefing on

  this Motion, Defendant has filed his pro se Motion for Leave to File Supplemental Reply

  (Docket # 171). To the extent that the Court has reviewed and considered the attached

  Supplemental Reply in connection with deciding the Motion to Modify Term of

  Imprisonment, the Motion for Leave to File (Docket # 171) is GRANTED.

         Turning to Defendant’s request for modification and reduction of his sentence,

  this Motion is without merit. There is no basis for the Court to modify the Defendant’s

  term of imprisonment under 18 U.S.C. § 3582(c). None of the recent amendments to

  USSG § 1B1.10 amend the Defendant’s guideline range. For this reason, Defendant’s

  Motion to Modify Term of Imprisonment (Docket # 164) is hereby DENIED.

         SO ORDERED.

                                                    /s/ George Z. Singal
                                                    Chief U.S. District Judge

  Dated this 12th day of March, 2008.
